                         Case 2:12-mj-10983-CW Document 1 Filed 09/27/12 Page 1 of 3
AO 442   (REV. 12/85)




                                UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                        §
                                                                § CRIMINAL COMPLAINT
vs.                                                             § CASE NUMBER: DR:12-M          -10983(1)
                                                                §
(1) Pablo Antonio Fiero-Cruz                                    §




                  I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about Auaust 26, 2012 in Val Verde county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, (track statutory language of offense) knowingly and willfully enter

the United States at        a   time and place other than as designated by Immigration Officers, he/she being an

alien in the United States in violation of Title        United States Code, Section(s)   1325(aUl).


                  I further state that I am a(n) Border Patrol Aaent and that this complaint is based on the

following facts: "On August 27, 2012, the defendant, Pablo Antonio FIERO-Cruz, a native and citizen of

Mexico, was arrested near Sanderson, Texas. Subsequent investigation revealed that the defendant is an

alien illegally present in the United States. The Defendant last entered the United States illegally from the

Republic of Mexico by crossing the Rio Grande River at a time and place other than as designated by

Immigration Officers, near Del Rio, Texas."


Continued on the attached sheet and made           a   part of hereof:                                EYes    No


                                                                                          /(2
                                                                                 f
                                                                                     /          /




Sworn to before me and subscribed in my presence,
                                                                              Signature of Complainant

08/29/20 12                                                              at   DEL RIO, Texas
File Date                                                                     City and State




VICTOR ROBERTO GARCIA                                                                \Ir\r
U.S. MAGISTRATE JUDGE                                                         Signature hDdicial Officer
    CIA
                                           Case 2:12-mj-10983-CW Document 1 Filed 09/27/12
          5 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEI tRay. 12/101
                                                                                            Page 2 of 3
                                                                                      VOUCHER NUMBER
1  CIRJDISTJDIV. CODE          2. PERSON REPRESENTED
TXW                            (1) Pablo Antonio Fiero-Cruz
                                                       4. DIST.DKTJDEF.NUMBER                                   5. APPEALS             DKTJDEF.NUMBER                                 6. OTHER DKT. NUMBER
3. MAG. DKTIDEF. NUMBER
DR:12-M -1 0983(1)
                                                       8. PAYMENT CATEGORY                                      9. TYPE PERSON REPRESENTED                                            10. REPRESENTATION TYPE
7. IN CASE/MATTER OF (caseName)
                                                                                                                Adult Defendant                                                        Criminal Case
U.S. vs. (1) Pablo Antonio Fiero-Cruz                  Petty Offense

11. OFFENSE(S) CHARGED (Cite U.S. Code, Titie & Section) If more thatn one offense, list (up to five)
                                                                                                      major offenses chargd, according to severity of offense.
8 USC 1325(a)(1) - IMPROPER ENTRY BY AN ALIEN8 USC 1325(a)(1)
 12. ATTORNEYS NAME (First Name, Ml., Last Name, including any suffix),                13. COURT ORDER

     AND MAILING ADDRESS                                                                       0 Appointing Counsel                               C Co-Counsel

Delgado, Bias Hemandez Jr.                                                                                           F Subs for Federal Defender                                              R Subs for Retained Attorney
111 Soledad Suite 300
San Antonio, TX 78205                                                                                                P Subs for Panel Attorney                                                Y Standby Counsel
                                                                                                                  Prior Attorney's Name:
                                                                                                                      Appointment Date:
                                                                                                                     Because the above-named person represented ha                    d und    ath or has otherwise satisfied this court that he

      Telephone Number: 1210) 227-4186                                                                         or sIre (1) is financially unable to employ   couet and           s,potwish    waive counsel, and because the interests of

14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instrUctions)                                       iusbce so require, the attsmeywhose name        ap                 25 appoin        represent this person in this

                                                                                                                       Other (See Instructions)

                                                                                                                                  Signature of Presiding
                                                                                                                                         0812912012
                                                                                                                                                                      Jufior                     By Oi'der of the Court

                                                                                                                               Date of Order                                 Nunc Pro Tunc Date
                                                                                                                Repayment or partial repayment ordered from the person represented for this service at
                                                                                                               time of appointment                   YES         [7  NO                 E]
                                -i                                                                                                                                                    BORCOURTUSEONLY
                            '                   CLAIMFORSERVICESANDEXPENSES                                                                                       .   ',   .



                                                                                                                              TOTAL                          MATH/TECH                    MATH/TECH
                                                                                                    H  RS                                                                                                                  ADDITIONAL
                                                                                                                             AMOUNT                          ADJUSTED                     ADJUSTED
                    CATEGORIES (Attach itematization of services with dates)                       CUd MED                                                                                                                   REVIEW
                                                                                                                             CLAIMED                           HOURS                       AMOUNT

    15. a. Arraignment and/or Plea
                                                                                                                                   .




          b. Bail and Detention Hearings
              c.    Motion Hearings
          d.Trial
          e. Sentencing Hearings
    c3    1.        Revocation Hearings
               g.   Appeals Court
          h.        Other (Spec/lyon additional sheets)
          (RATEPERHOUR$                                       )    TOTALS:
16.       a. Interviews and Conferences
          b. Obtaining
                                                                                                                                             ,,.
          c. Legal research and brief writing
                                                                                                                              '


                                                                                                                                  ,r
          d. Travel time
          e. Investigative and other work       (Specifr on additional sheets)
           (RATE PER HOUR$                                   )
                                                                  TOTALS:
          Travel Expenses (lodging, parking, meals, mileage, etc)
7
    18   Other Expenses (other than expert, transcnpts, etc)
                GRAND TOTALS (CLAIMED AND ADJUStED)
                        .


                                                                                                                       20. APPOINTMENT TERMINATION DATE                                              21. CASE DISPOSITION
    19. CERTIFICATION OF ATTORNEYIPAYEE FOR THE PERIOD OF SERVICE
                                                                                                                           IF OTHER THAN CASE COMPLETION

          FROM:                                                      TO:
                                                          Final Payment                            lntedm Payment Number                                                                      Supplemental Payment
    22. CLAIM STATUS
                                                                                                                                                                 If yes, were yos paid?             YES            NO
          Have you previously applied to the court for compensafon and/or reimbursement for this case?                           YES       [ti] NO
                                                                                                                                                                                                                              .




                                     have  ou, or to yosr knowledge has anyone else, received  payment   (compensation    or anything of value) from any other source in connection with this
          Other than from the Court,
          representation?                    YES                 NO                         If yes, give details on additional sheets.

          I    swear or affirm the truth or correctness of the above statements.
                                                                                                                                                                               Date
          Signature of Attorney
                                                                       APPROVEO FOR PAYMENT - COURT USE ONLY
                                                 24. OUT OF COURT COMP      25. TRAVEL EXPENSES        26. OTHER EXPENSES                                                                          27. TOTAL AMT. APPRJCERT.
    23. IN COURT COMP.


                                                                                                                                            DATE                                                   28a. JUDGE CODE
    28. SIGNATURE OF THE PRESIDING JUDGE


                                                 30. OUT OF COURT COMP                      31. TRAVEL EXPENSES                             32. OTHER EXPENSES                                     33. TOTAL AMT. APPRJCERT.
    29. IN COURT COMP.


                                                                                                                                             DATE                                                  34a. JUDGE CODE
    34. SIGNATURE OF THE CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved
        in excess of the statutosy threshold amount.
                           Case 2:12-mj-10983-CW Document 1 Filed 09/27/12 Page 3 of 3
AO 24511 (Rev. 07/04)(W.D.TX)   Judgement in a Criminal Case for   a   Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                                                   §
                                                                                           § CRIMINAL COMPLAINT
vs.                                                                                        § CASE NUMBER: DR:12-M   -10983(1)
                                                                                           §
(1) Pablo Antonio Fiero-Cruz                                                               §

                                                        JUDGEMENT IN A CRIMINAL CASE
                                                        (For A Petty Offense) Short Form
                The defendant, Pablo Antonio Fiero-Cruz, was presented by counsel, BIas Hernandez Delgado Jr..

          The defendant pled guilty to the complaint on September 27, 2012. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                    Date of Offense

8 USC 1325                                 ILLEGAL ENTRY                                                        August 26, 2012


           As pronounced on September 27, 2012, the defendant is hereby commited to the custody of the
United States Bureau of Prisons for a term of 33 days with credit for time already served. The sentence is
imposed to the Sentencing Reform Act of 1984.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remited pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                The fine is waived because of the defendant's inability to pay.

           It is further ordered that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this Judgement are fully paid.

                 Filed and Signed on this the 27th day of September, 2012.




                                                                                                      COLLIS WHITE
                                                                                                      U.S. MAGISTRATE JUDGE




Arresting Agency: DRBP                   Del Rio Border Patrol
USM #: 03178380
